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                    UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Sallie Kim, Magistrate Judge

UNITED STATES OF AMERICA,          )
                                   )
           Plaintiff,              )
                                   )
  VS.                              )     NO. CR. 15-00319 RS (SK)
                                   )
SHAUN W. BRIDGES,                  )
                                   )
           Defendant.              )
                                   )

                              San Francisco, California
                              Monday, August 31, 2015

                  TRANSCRIPT OF THE OFFICIAL
           ELECTRONIC SOUND RECORDING OF PROCEEDINGS

APPEARANCES:

For Plaintiff:
                           Melinda Haag
                           United States Attorney
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                           (415) 436-6511
                     BY:   KATHRYN R. HAUN
                           WILLIAM FRENTZEN

For Plaintiff:
                           United States Department of Justice
                           Criminal Division
                           Public Integrity Section
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                     BY:   RICHARD B. EVANS


Transcribed By Lydia Zinn, CSR #9223, FCRR, Official Reporter
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1    APPEARANCES:

2    For Defendant:
                                Levin and Curlett LLC
3                               201 N. Charles Street, Suite 2000
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                          BY:   STEVEN HALE LEVIN
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1    Monday - August 31, 2015                                  9:36 a.m.

2                            P R O C E E D I N G S

3                                   ---000---

4               THE CLERK:   Calling Case Number CR. 15-319, U.S.A.

5    versus Shaun W. Bridges.

6               MS. HAUN:    Good morning, Your Honor.      Kathryn Haun,

7    for the United States.    I'm joined by my colleagues,

8    William Frentzen and Richard Evans.        Mr. Evans is from the

9    Public Integrity Section, Main Justice, Washington, D.C.

10              MR. EVANS:   Good morning, Your Honor.

11              THE COURT:   Good morning.

12              MR. LEVIN:   Good morning, Your Honor.       Steven Levin,

13   on behalf of Mr. Bridges, who is standing to my right.

14              THE COURT:   Good morning.      I understand that we're

15   here on an arraignment for a felony Information.         Is that

16   correct?

17              MR. LEVIN:   It is correct.

18              MS. HAUN:    Yes.

19              THE COURT:   And Mr. Levin, do you have a copy of the

20   information for your client?

21              MR. LEVIN:   I do, Your Honor.

22              THE COURT:   Okay.   Mr. Levin [sic], the U.S. Attorney

23   has charged you in an Information with certain felony offenses.

24   I'm going to ask Ms. Haun to summarize those, and the maximum

25   penalties.
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1               MS. HAUN:    Yes.    Mr. Bridges has been charged in a

2    two-count Information, Your Honor.       The first count that

3    Mr. Bridges is charged with is a violation of Title 18,

4    United States Code Section 1957.      That is money laundering.

5    And if convicted of that offense, the maximum penalties the

6    defendant faces are a 20-year term of imprisonment; a $250,000

7    fine, or twice the gross gain; a three-year term of Supervised

8    Release; restitution and forfeiture; and a $100 Special

9    Assessment.

10        The defendant is also charged in another count of the

11   felony Information with a violation of Title 18

12   United States Code Section 1512.      That is obstruction of

13   justice.   And the maximum penalties for that offense are the

14   same that I just recited for the prior count.         Of course, those

15   would be per that count.       So again --

16              THE COURT:   Thank you.

17              MS. HAUN:    -- would apply.

18              THE COURT:   Okay.     Thank you.    Mr. Bridges, do you

19   understand the nature of the charges, and the nature of the

20   potential maximum penalties against you?

21              THE DEFENDANT:      I do, Your Honor.

22              THE COURT:   Okay.     Mr. Bridges, you have the

23   constitutional right to be charged with the Grand Jury.             The

24   U.S. Attorney has filed an Information, and you can waive the

25   Grand Jury if you choose to do that.         If you do have a Grand
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1    Jury -- and my understanding is that you're going to waive it

2    today.   Is that correct?

3               THE DEFENDANT:    That's correct, Your Honor.

4               THE COURT:   And, Mr. Levin, have you signed the

5    paperwork for that?

6               MR. LEVIN:   We have, Your Honor.

7               THE COURT:   Thank you.    And, Mr. Levin, is this

8    your -- I mean, Mr. Levin, this is your signature.

9         Mr. Bridges, is this your signature on this?

10              THE DEFENDANT:    Yes.

11              THE COURT:   And I find that the waiver of Indictment

12   is knowingly and voluntarily made by Mr. Bridges, the

13   defendant, and I accept the waiver.       And the record should

14   reflect that the defendant has waived the Indictment.

15        Are you ready to enter a plea at this time?

16              MR. LEVIN:   We are, Your Honor.

17              THE COURT:   And what is that plea?

18              MR. LEVIN:   Mr. Bridges pleads not guilty.

19              THE COURT:   Okay.   A plea of not guilty will be

20   entered.   And the record should reflect the defendant is now

21   arraigned.

22              MS. HAUN:    Thank you.

23              THE COURT:   Is there anything else that needs to be

24   done today?

25              MS. HAUN:    No, Your Honor.    The defendant is going to
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1    be pleading guilty to the Information.        Our understanding is --

2    for a change-of-plea hearing this afternoon before

3    Judge Seeborg at -- Ms. Hom, is that -- do you have 2:00 or

4    3:00?   We were checking.

5               THE CLERK:    I was told it was set for 3:00 o'clock.

6               MS. HAUN:    3:00 o'clock, specially set, Your Honor.

7               THE COURT:    Okay.   All right.    So, given that there's

8    nothing more, we're done with this matter.        Thank you.

9               MR. LEVIN:    Thank you, Your Honor.

10              THE DEFENDANT:    Thank you, Your Honor.

11        (At 9:40 a.m. the proceedings were adjourned.)

12                          CERTIFICATE OF REPORTER

13        I certify that the foregoing is a true and correct

14   transcript, to the best of my ability, of the above pages of

15   the official electronic sound recording provided to me by the

16   U. S. District Court, Northern District of California, of the

17   proceedings taken on the date and time previously stated in the

18   above matter.

19        I further certify that I am neither counsel for, related

20   to, nor employed by any of the parties to the action in which

21   this hearing was taken; and, further, that I am not financially

22   nor otherwise interested in the outcome of the action.

23

24            _______________________________January 12, 2018

25                   Signature of Transcriber          Date
